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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                  Fort Lauderdale Division

                                      Case No. 0:19-cv-61069

 MARK W. LILLY and SIMPLIFY BIZ,
 INC.,

        Plaintiffs,

 vs.

 SANTANDER CONSUMER USA INC.
 d/b/a CHRYSLER CAPITAL,

        Defendant.


                      PLAINTIFF’S NOTICE OF STRIKING DOCUMENT

        Plaintiffs Mark W. Lilly (“Lilly”) and Simplify Biz, Inc. (“Simplify Biz”) (collectively,

 the “Plaintiffs”), hereby provides notice that DE #6, should be struck and/or removed from the

 docket in this matter in that it was incorrectly filed. In order to fix this error, on this same day,

 Plaintiff filed the corrected document titled Summons Returned Executed DE #7.

 Dated: May 30, 2019.

                                                   Respectfully submitted,

                                                   MORGAN & MORGAN, P.A.
                                                   Business Trial Group

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